   Case 4:16-cr-00224-WTM-CLR Document 157 Filed 12/20/16 Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
                                                                       s.    . ..

               FOR THE SOUTHERN DISTRICT OF GEORGIA                          yn P!,|2;52

                           SAVANNAH DIVISION                  r.( ■■

                                                                       so.          GA.

THE UNITED STATES OF AMERICA,


               Plaintiff,

                                            4:16CR224-02


JERMOND ANDERSON CURTIS,


               Defendant




                               ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.



     SO ORDERED,   this          day of December, 2016




                                UNITED STATES MAGISTRATE JUDGE
                                SOUTHERN DISTRICT OF GEORGIA
